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                        6/22/2023                              3550                                                                         rr =               -~„
    DatW /approved:                             ~;iensi6n:                                                                     r                             __...
    ~3,, Jennifer L. Waier                                                                                                     4
         O FSP Officer (for ntd~erinl witness c~~lv,)      1hYJ5A
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   L11~i~TEI? 5TA1`ES OF AMERICA                                                    CASE NL?~
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                                                                                                                ~:'~3-c~-OOt~79-I~Q~
                                         v.
   ~~RA 3A.CQLrELINE KING,                                                                                              `~'~ ~i(~ TUS~IJF'ICA7CImI~~
                                                                                      ~~~~AV~T ~~°~

                                                             rIEFENt3ANTf5).

     L the undersigned surety, state on oath thatI germ~nently reside v,~ thin the J~ns~iction o~fhe United States District Coutr
 fer tie Central Distiict of California atshe address indicated belc~iiv or in (~if3'> ~~t~j`•


     I fiuther state thatI understand the provisions ofthe bind axecu#ed by t?~e above-named def~nd~stfor w~icli t~iis affidavit
 supports, and I agree to be bound as a ca~dition ofthis-bond by the provisions ofLocsl Crimuial Rule 45-6 a5 setforth at ihz
 bottom ofthis document and further acl~owleclge and agree that I and my personal repr~seztatives dre bound as a condition
 ofthis bond,jointly and severally with the defendant and othez sureties, fc~ pay to the United Mates of America the sum of
 g 5;000.00                 , in the event that the bond is.forfeited.

    I further understand that it is my ~~ligaticm tc~ infnxm the Court anct counsel of any change in residence address or
 employment   ofthe defendant immediztely upon becoming aware ofsuch -fact.

     I further agree and understand that unless otherwise ordered ~iy the Court, the-bond for vrhich this a€fidavit supports is
 a continuingbond   (including any proceeding on appeal cir review}.which shall continue in fiall force and effect until such fime~
 as the undersigned  is duly exonerated by Order ofthe Court.

      I declare under the penalty of perjury that the foregoi.a~g is#rue and correct. Executed Qn this                                    ~~~                 day af


      Michael King                                                                         X ~ X - Xr -
         e o Sure                                                                      Social Security T~iumber of Suety (Lc~;si ~: d%gits only)
           cL
     Signature of S          ty                                                         Address ofSuret~~

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     Relationship of Surety                                                            City> .State, Zip Code


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